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                       UN ITED STA TES D ISTRICT CO U RT FO R TH E
                            SOUTHERN DISTRICT OF FLORIDA
                                     M iam iDivision

                           C ase N um ber:17-20999-C IV -M O R EN O

CR AIG D .W ILSON ,

              Plaintiff,


PORTFO LIO RECO VERY A SSOCIA TES,
LLC,and PO LLA CK & R O SEN ,P.A .,

              D efendants.
                                                 /
                        FINAL ORDER O F DISM ISSAL AND ORD ER
                       DENY ING ALL PENDIN G M O TIONS AS M O OT

       THIS CAUSE camebefoxetheCourtuponNoticeofVoluntaryDismissalwith prejudice
(D.E.8),tiledonApril10.2017.
       THE COURT hasconsidered the noticeand thepertinentportionsoftherecord,and is

otherwisefully advised in theprem ises. Defendanthasneitheranswered thecom plaintnor

movedforsummaryjudgment.ltis
       ADJUDGED thatthisCauseisDISM ISSED with prejudice,with each party bearing its

own fees and costs. See Fed.R.Civ.P.41(a)(1)(A)(i). Further,a11pending motions are
DENIED asM OOT withleavetorenew ifappropriate.                        >
       DONE AND ORDERED in Cham bersatM iami,Florida,this                 ofM ay 2017.



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                                           UN      STA TES DISTR ICT JU DG E
Copies fum ished to:
CounselofRecord
